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               Exhibit A
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State      FAC Claims                                                                                                                 Statutory Language/Relief Available                                                                                                                         Relief Sought                Parens vs. Sovereign



                                                                                                                                      AK Stat. § 45.50.562: Every contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce is unlawful.

                                                                                                                                      AK Stat. § 45.50.501: (a) When the attorney general has reason to believe that a person has used, is using, or is about to use an act or practice
                                                                                                                                      declared unlawful in AS 45.50.471, and that proceedings would be in the public interest, the attorney general may bring an action in the name of the
                                                                                                                                      state against the person to restrain by injunction the use of the act or practice. The action may be brought in the superior court in the judicial district
                                                                                                                                                                                                                                                                                                  Antitrust: Civil penalties,
                                                                                                                                      in which the person resides or is doing business or has the person's principal place of business in the state, or, with the consent of the parties, in any
           As provided for under ARTA, Alaska seeks a civil penalty of up to $50,000,000, injunctive relief, disgorgement, and                                                                                                                                                                    injunctive relief, attorney's
                                                                                                                                      other judicial district in the state.
           costs and attorney’s fees.                                                                                                                                                                                                                                                             fees and costs.
                                                                                                                                      (b) The court may make additional orders or judgments that are necessary to restore to any person in interest any money or property, real or
Alaska                                                                                                                                                                                                                                                                                                                          Sovereign
                                                                                                                                      personal, which may have been acquired by means of an act or practice declared to be unlawful by AS 45.50.471.
           DTPA: Plaintiff State of Alaska is entitled to relief for these violations under AS 45.50.501, .537, and .551, including                                                                                                                                                               DTPA: Civil penalties,
           injunctive relief, civil penalties of between $1,000 and $25,000 for each violation, and costs and attorney’s fees.                                                                                                                                                                    disgorgement, attorney's fees
                                                                                                                                      AK Stat. § 45.50.537: (a) In an action brought by a private person under AS 45.50.471‐‐45.50.561, a prevailing plaintiff shall be awarded costs as
                                                                                                                                                                                                                                                                                                  and costs.
                                                                                                                                      provided by court rule and full reasonable attorney fees at the prevailing reasonable rate.
                                                                                                                                      (b) Unless the action is found to be frivolous, in an action brought by a private person under AS 45.50.471‐‐45.50.561, a prevailing defendant shall be
                                                                                                                                      awarded attorney fees and costs as provided by court rule. If the action is found to be frivolous, the attorney fees to be awarded to the defendant
                                                                                                                                      shall be full reasonable attorney fees at the prevailing reasonable rate.




                                                                                                                                      (c) Notwithstanding the other provisions of this section, in an action brought by a private person under AS 45.50.471‐‐45.50.561, if the plaintiff is not
                                                                                                                                      the prevailing party and if the court finds that the action was brought by the plaintiff to obtain a competitive business advantage, the court shall
                                                                                                                                      award a prevailing defendant costs as provided by court rule, full reasonable attorney fees at the prevailing reasonable rate, and any damages
                                                                                                                                      suffered by the prevailing defendant as a result of the plaintiff's allegations.
                                                                                                                                      (d) In an action brought by the attorney general under AS 45.50.471‐‐45.50.561, if the attorney general prevails, the state shall be awarded its actual
                                                                                                                                      attorney fees and costs, including costs of investigation, to the extent those fees and costs are reasonable.

                                                                                                                                      AK Stat. § 45.50.551: (a) A person who violates the terms of an injunction or restraining order issued under AS 45.50.501 shall forfeit and pay to the
                                                                                                                                      state a civil penalty of not more than $50,000 for each violation. For the purposes of this section, the superior court in a judicial district issuing an
                                                                                                                                      injunction retains jurisdiction, and, in these cases, the attorney general acting in the name of the state may petition for recovery of the penalties.
                                                                                                                                      (b) In an action brought under AS 45.50.501, if the court finds that a person is using or has used an act or practice declared unlawful by AS 45.50.471,
                                                                                                                                      the attorney general, upon petition to the court, may recover, on behalf of the state, a civil penalty of not less than $1,000 and not more than
                                                                                                                                      $25,000 for each violation.




                                                                                                                                      Unfair Practices Act, Ark. Code Ann. § 4‐75‐201 et seq., Monopolies Generally, Ark. Code Ann. § 4‐75‐301 et seq.

                                                                                                                                 AR Code §4‐75‐212: (a) In addition to the other remedies provided in this subchapter, whenever the Attorney General has reason to believe that any
                                                                                                                                 person is engaging, has engaged, or is about to engage in any act or practice declared unlawful by this subchapter, the Attorney General may bring an
                                                                                                                                 action in the name of the state against that person:
                                                                                                                                 (1) To obtain a declaratory judgment that the act or practice violates the provisions of this subchapter;
                                                                                                                                                                                                                                                                                            Antitrust: Injunctive relief,
                                                                                                                                 (2) To enjoin any act or practice that violates the provisions of this subchapter by issuance of a temporary restraining order or preliminary or
           Unfair Practices Act, Ark. Code Ann. § 4‐75‐201 et seq., Monopolies Generally, Ark. Code Ann. § 4‐75‐301 et seq., and                                                                                                                                                            damages/restitution, civil
                                                                                                                                 permanent injunction, without bond, upon the giving of appropriate notice;
           the common law of Arkansas. maximum civil penalties allowed by law, injunctive relief, disgorgement, attorney’s                                                                                                                                                                  penalties, costs and attorney's
                                                                                                                                 (3) To recover on behalf of the state and its agencies actual damages or restitution for loss incurred either directly or indirectly; and
           fees, costs, investigative expenses, expert witness expenses, and such other relief as this Court deems just and                                                                                                                                                                 fees.
                                                                                                                                 (4) To recover civil penalties of up to one thousand dollars ($1,000) per violation of this subchapter, or any injunction, judgment or consent order
Arkansas   equitable.                                                                                                                                                                                                                                                                                                       Parens Patriae
                                                                                                                                 issued or entered into under the provisions of this subchapter and reasonable expenses, investigative costs, and attorney's fees.
                                                                                                                                                                                                                                                                                            DTPA: civil penalties,
                                                                                                                                 (b) The Attorney General may also bring a civil action in the name of the state, as parens patriae on behalf of natural persons residing in this state, to
           DTPA:Google’s ac ons violate the Arkansas Decep ve Trade Prac ces Act, Ark. Code Ann. § 4‐88‐101 et seq., and                                                                                                                                                                    disgorgement, attorney's fees,
                                                                                                                                 secure monetary relief as provided under this section for injury, directly or indirectly sustained by those persons because of any violation of this
           Arkansas is entitled to and seeks relief under the Arkansas Deceptive Trade Practices Act, Ark. Code Ann. § 4‐88‐113                                                                                                                                                             investigative expenses and
                                                                                                                                 subchapter, in accordance with the following provisions:
                                                                                                                                                                                                                                                                                            other equitable relief
                                                                                                                                 (1)(A) The circuit court shall award the Attorney General as monetary relief actual damages sustained or restitution for loss incurred as a result of the
                                                                                                                                 violations of this subchapter, and the cost of suit, including a reasonable attorney's fee.
                                                                                                                                 (B) The court shall exclude from the amount of monetary relief awarded in the action any amount which duplicates amounts that have been
                                                                                                                                 awarded for the same injury already or which are allocable to persons who have excluded their claims under subdivision (b)(3)(A) of this section.
                                                                                                                                 (C) The treble damages recoverable under § 4‐75‐211(b)(3) are not recoverable under a parens patriae action brought under this section.
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State     FAC Claims                                                                                                               Statutory Language/Relief Available                                                                                                                              Relief Sought                         Parens vs. Sovereign
                                                                                                                                   AR Code §4‐88‐113: (2)(A) Restore to any purchaser who has suffered any ascertainable loss by reason of the use or employment of the prohibited
                                                                                                                                   practices any moneys or real or personal property which may have been acquired by means of any practice declared to be unlawful by this chapter,
                                                                                                                                   together with other damages sustained.
                                                                                                                                   (B) In determining the amount of restitution to be awarded under this section, the court shall consider affidavits from nontestifying purchasers,
                                                                                                                                   provided that:
                                                                                                                                   (i) The affidavits are offered as evidence of a material fact;
                                                                                                                                   (ii) The affidavits are more probative on the point for which they are offered than any other evidence which the Attorney General can procure
                                                                                                                                   through reasonable efforts;
                                                                                                                                   (iii) The interests of justice will be best served by admission of the affidavits; and
                                                                                                                                   (iv) The Attorney General makes the names and addresses of the affiants available to the adverse party sufficiently in advance to provide the adverse
                                                                                                                                   party with a fair opportunity to communicate with them; and
                                                                                                                                   (3) Assess penalties to be paid to the state, not to exceed ten thousand dollars ($10,000) per violation, against persons found to have violated this
                                                                                                                                   chapter.
                                                                                                                                   (b) Upon petition of the Attorney General, the court may order the suspension or forfeiture of franchises, corporate charters, or other licenses or
                                                                                                                                   permits or authorization to do business in this state.



                                                                                                                                  DTPA Fla. Stat. § 501.207:(1) The enforcing authority may bring:
                                                                                                                                  (c) An action on behalf of one or more consumers or governmental entities for the actual damages caused by an act or practice in violation of this
          a)Injunc ve and other equitable relief pursuant to Fla. Stat. § 542.23;                                                 part. However, damages are not recoverable under this section against a retailer who has in good faith engaged in the dissemination of claims of a
          b)Civil penal es pursuant to Fla. Stat. § 542.21, which provides that any person other than a natural person is subject manufacturer or wholesaler without actual knowledge that it violated this part.
          to a penalty of up to $1 million and that “[a]ny person who knowingly violates any of the provisions … or who           (6) The enforcing authority may terminate an investigation or an action upon acceptance of a person's written assurance of voluntary compliance
                                                                                                                                                                                                                                                                                                    Antitrust: Injunctive relief, civil
          knowingly aids in or advises such violation, is guilty of a felony, punishable by a fine not exceeding $1 million if a  with this part. Acceptance of an assurance may be conditioned on a commitment to reimburse consumers or governmental entities, make
                                                                                                                                                                                                                                                                                                    penalties, costs and attorney's
          corporation”; and                                                                                                       contributions, pay civil penalties, pay attorney's fees and costs, or take other appropriate corrective action. An assurance is not evidence of a prior
                                                                                                                                                                                                                                                                                                    fees and other equitable
          c)Costs and a orneys’ fees pursuant to Fla. Stat. § 542.23.                                                             violation of this part. However, unless an assurance has been rescinded by agreement of the parties or voided by a court for good cause, subsequent
                                                                                                                                                                                                                                                                                                    remedies
                                                                                                                                  failure to comply with the terms of an assurance is prima facie evidence of a violation of this part. Such assurance is not a limitation upon any action
Florida                                                                                                                                                                                                                                                                                                                                   Sovereign
          DTPA: a)Damages pursuant to Fla. Stat. § 501.207;                                                                       or remedy available to a person aggrieved by a violation of this part.
                                                                                                                                                                                                                                                                                                    DTPA: Injunctive relief, civil
          b)Disgorgement and res tu on pursuant to Fla. Stat. § 501.207;
                                                                                                                                                                                                                                                                                                    penalties, costs and attponey's
          c)Injunc ve and other equitable relief pursuant to Fla. Stat. § 501.207;                                                Fla. Stat. § 501.207: ""the court may make appropriate orders,. . .to grant legal, equitable, or other appropriate relief.""; ; Fla. Stat. § 501.2075:
                                                                                                                                                                                                                                                                                                    fees and other equitable
          d)Civil penal es pursuant to Fla. Stat. § 501.2075, which provides that anyone who engages in a willful viola on “is    ""Except as provided in s. 501.2077, any person, firm, corporation, association, or entity, or any agent or employee of the foregoing, who is willfully
                                                                                                                                                                                                                                                                                                    remedies
          liable for a civil penalty of not more than $10,000 for each such violation”; and                                       using, or has willfully used, a method, act, or practice declared unlawful under s. 501.204, or who is willfully violating any of the rules of the
          e)Costs and a orneys’ fees pursuant to Fla. Stat. § 501.2105.                                                           department adopted under this part, is liable for a civil penalty of not more than $10,000 for each such violation. Willful violations occur when the
                                                                                                                                  person knew or should have known that his or her conduct was unfair or deceptive or prohibited by rule."" ; e) Fla. Stat. § 501.2105: ""In any civil
                                                                                                                                  litigation resulting from an act or practice involving a violation of this part, except as provided in subsection (5), the prevailing party, after judgment
                                                                                                                                  in the trial court and exhaustion of all appeals, if any, may receive his or her reasonable attorney's fees and costs from the nonprevailing party.""




                                                                                                                                   ANTITRUST: Fla. Stat. § 542.23: "In addition to other remedies provided by this chapter, any person shall be entitled to sue for and have injunctive
                                                                                                                                   or other equitable relief in the circuit courts of this state against threatened loss or damage by a violation of this chapter. In any action under this
                                                                                                                                   section in which the plaintiff substantially prevails, the court shall award the cost of suit, including a reasonable attorney's fee, to the plaintiff."" Fla.
                                                                                                                                   Stat. § 542.21: ""(1) Any natural person who violates any of the provisions of s. 542.18 or s. 542.19 shall be subject to a civil penalty of not more than
                                                                                                                                   $100,000. Any other person who violates any of the provisions of s. 542.18 or s. 542.19 shall be subject to a civil penalty of not more than $1
                                                                                                                                   million."




                                                                                                                                  ID Code § 48‐108: (1) Whenever the attorney general has reason to believe that any person is engaging, has engaged, or is about to engage in any act Idaho Competition Act:
                                                                                                                                  or practice declared unlawful by this chapter, the attorney general may bring an action in the name of the state against that person:                   declaratory judgment,
                                                                                                                                  (a) To obtain a declaratory judgment that the act or practice violates the provisions of this chapter;                                                  injunctive relief, civil penalties,
          Antitrust (Idaho Competition Act): all equitable relief available under the Idaho Competition Act, Idaho Code §§ 48‐
                                                                                                                                  (b) To enjoin any act or practice that violates the provisions of this chapter by issuance of a temporary restraining order or preliminary or permanent divestiture of assets,
          108 and 48‐112, including, but not limited to, declaratory judgment, injunctive relief, civil penalties, divestiture of
                                                                                                                                  injunction, without bond, upon the giving of appropriate notice;                                                                                        disgorgement, expenses, costs,
          assets, disgorgement, expenses, costs, attorneys’ fees, and such other and further relief as this Court deems just and
                                                                                                                                  ....                                                                                                                                                    attorneys' fees, and other
          equitable.
                                                                                                                                  (d) To recover civil penalties of up to fifty thousand dollars ($50,000) per violation of section 48‐104 or 48‐105, Idaho Code, or any injunction,      appropriate relief
Idaho                                                                                                                                                                                                                                                                                                                         Sovereign
                                                                                                                                  judgment or consent order issued or entered into pursuant to this chapter and reasonable expenses, investigative costs and attorney's fees; and
          Idaho Consumer Protection Act: Google’s unfair or deceptive acts and practices, as alleged herein, constitute
                                                                                                                                  (e) To obtain an order requiring divestiture of any assets:                                                                                             Idaho Consumer Protection
          separate and multiple violations of Idaho Code §§ 48‐603(5), 48‐603(7), 48‐603(9), and 48‐603(17), and IDAPA
                                                                                                                                  ....                                                                                                                                                    Act: declaratory judgment,
          04.02.01.030. Google’s separate and multiple violations of these provisions subject Google to the remedies outlined
                                                                                                                                  (ii) To restore competition in any line of Idaho commerce which has been eliminated by a violation of section 48‐105, Idaho Code.                       injunctive relief, actual
          in Idaho Code §§ 48‐606 and 48‐607.
                                                                                                                                  ID Code § 48‐112: When the state prevails in any action brought under section 48‐108, Idaho Code, the court shall award reasonable costs and            damages or restitution, civil
                                                                                                                                  attorney’s fees to the attorney general. In addition, the court may:                                                                                    penalties, and other
                                                                                                                                  (1) Make orders or judgments as necessary to prevent the use or employment by a person of any act or practice declared unlawful by this act;            appropriate relief
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State     FAC Claims                                                                                                         Statutory Language/Relief Available                                                                                                                           Relief Sought                    Parens vs. Sovereign


                                                                                                                             . . . . and
                                                                                                                             (4) Grant other appropriate relief.
                                                                                                                             ID Code § 48‐606: (1) Whenever the attorney general has reason to believe that any person is using, has used, or is about to use any method, act or
                                                                                                                             practice declared by this chapter to be unlawful, and that proceedings would be in the public interest, he may bring an action in the name of the
                                                                                                                             state against such person:
                                                                                                                             (a) To obtain a declaratory judgment that a method, act or practice violates the provisions of this chapter;
                                                                                                                             (b) To enjoin any method, act or practice that violates the provisions of this chapter by issuance of a temporary restraining order or preliminary or
                                                                                                                             permanent injunction, upon the giving of appropriate notice to that person as provided by the Idaho rules of civil procedure;
                                                                                                                             (c) To recover on behalf of consumers actual damages or restitution of money, property or other things received from such consumers in connection
                                                                                                                             with a violation of the provisions of this chapter;
                                                                                                                             ....
                                                                                                                             (e) To recover from the alleged violator civil penalties of up to five thousand dollars ($5,000) per violation for violation of the provisions of this
                                                                                                                             chapter; and
                                                                                                                             (f) To recover from the alleged violator reasonable expenses, investigative costs and attorney's fees incurred by the attorney general.
                                                                                                                             ID Code § 48‐607: In any action brought by the attorney general, wherein the state prevails, the court shall, in addition to the relief granted pursuant
                                                                                                                             to section 48‐606, Idaho Code, award reasonable costs, investigative expenses and attorney's fees to the attorney general. . . . In addition, the court
                                                                                                                             may:



                                                                                                                             (1) Make such orders or judgments as may be necessary to prevent the use or employment by a person of any method, act or practice declared to be
                                                                                                                             a violation of the provisions of this chapter;
                                                                                                                             (2) Make such orders or judgments as may be necessary to compensate any consumers for actual damages sustained or to provide for restitution to
                                                                                                                             any consumers of money, property or other things received from such consumers in connection with a violation of the provisions of this chapter;
                                                                                                                             (3) Make such orders or judgments as may be necessary to carry out a transaction in accordance with consumers' reasonable expectations;
                                                                                                                             ....
                                                                                                                             (5) Revoke any license or certificate authorizing that person to engage in business in this state;
                                                                                                                             (6) Enjoin any person from engaging in business in this state; and/or
                                                                                                                             (7) Grant other appropriate relief.



                                                                                                                             Ind. Code § 24‐1‐2‐5: It shall be the duty of the attorney general... to institute apprpropriate proceedings to prevent and restrain violations of the
                                                                                                                             provisions of this chapter or any other statute or the common law relating to the subject matter of this chapter; Common law

                                                                                                                             Ind. Code § 24‐5‐0.5‐4: (a) A person relying upon an uncured or incurable deceptive act may bring an action for the damages actually suffered as a
                                                                                                                             consumer as a result of the deceptive act or five hundred dollars ($500), whichever is greater. The court may increase damages for a willful deceptive
          1.       all injunctive and other equitable relief available under Ind. Code. § 24‐1‐2‐1 et seq. and common law.
                                                                                                                             act in an amount that does not exceed the greater of:
                                                                                                                             (1) three (3) times the actual damages of the consumer suffering the loss; or
          DTPA: Plaintiff State of Indiana seeks all remedies available under the Indiana Deceptive Consumer Sales Act
                                                                                                                             (2) one thousand dollars ($1,000).
          including, without limitation, the following:
                                                                                                                                                                                                                                                                                           Antitrust: Injunctive relief.
          a)Civil penal es pursuant to Ind. Code § 24‐5‐0.5‐4(g) for knowing viola ons of the Indiana Decep ve Consumer
                                                                                                                             (c) The attorney general may bring an action to enjoin a deceptive act, including a deceptive act described in section 3(b)(20) of this chapter,
Indiana   Sales Act.                                                                                                                                                                                                                                                                                                        Sovereign
                                                                                                                             notwithstanding subsections (a) and (b). However, the attorney general may seek to enjoin patterns of incurable deceptive acts with respect to                DTPA: Injunctive relief, civil
          b)Disgorgement and res tu on pursuant to Ind. Code § 24‐5‐0.5‐4(c)(2);
                                                                                                                             consumer transactions in real property. In addition, the court may:                                                                                           penalties, disgorgement.
          c)Injunc ve and other equitable relief pursuant to Ind. Code § 24‐5‐0.5‐4(c)(1);
                                                                                                                             (1)issue an injunction;
          d)Costs pursuant to Ind. Code § 24‐5‐0.5‐4(c)(4); and
                                                                                                                             (2) order the supplier to make payment of the money unlawfully received from the aggrieved consumers to be held in escrow for distribution to
          700.Other remedies as the Court finds necessary to redress and prevent recurrence of Google’s viola ons.
                                                                                                                             aggrieved consumers;
                                                                                                                             (4) order the supplier to pay to the state the reasonable costs of the attorney general's investigation and prosecution related to the action;

                                                                                                                             (g) If a court finds any person has knowingly violated section 3 or 10 of this chapter, other than section 3(b)(19), 3(b)(20), or 3(b)(40) of this chapter,
                                                                                                                             the attorney general, in an action pursuant to subsection (c), may recover from the person on behalf of the state a civil penalty of a fine not
                                                                                                                             exceeding five thousand dollars ($5,000) per violation.
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State       FAC Claims                                                                                                               Statutory Language/Relief Available                                                                                                                          Relief Sought                    Parens vs. Sovereign


                                                                                                                                     Ky. Rev. Stat. § 367.170: (1) Unfair, false, misleading, or deceptive acts or practices in the conduct of any trade or commerce are hereby declared
                                                                                                                                     unlawful.
            State antitrust statute: The Commonwealth of Kentucky seeks the following remedies under Kentucky law for
                                                                                                                                     (2) For the purposes of this section, unfair shall be construed to mean unconscionable.
            violations of Ky. Rev. Stat. § 367.175:
                                                                                                                                     Ky. Rev. Stat. § 367.175: (1) Every contract, combination in the form of trust and otherwise, or conspiracy, in restraint of trade or commerce in this
            a)Disgorgement and res tu on pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110 through Ky. Rev. Stat. §
                                                                                                                                     Commonwealth shall be unlawful.
            367.990, and common law;
                                                                                                                                     (2) It shall be unlawful for any person or persons to monopolize, attempt to monopolize or combine or conspire with any other person or persons to
            b)Injunc ve and other equitable relief pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110 through Ky. Rev.
                                                                                                                                     monopolize any part of the trade or commerce in this Commonwealth.
            Stat. § 367.990, and common law;
                                                                                                                                     (3) In addition to any other penalties, a violation of this section shall also be a Class C felony.
            c)Civil penal es pursuant to Ky. Rev. Stat. § 367.990(8);                                                                                                                                                                                                                             Antitrust: injunctive relief,
            d)Costs and a orneys’ fees pursuant to Ky. Rev. Stat. § 367.110 through Ky. Rev. Stat. § 367.990, Ky. Rev. Stat. §                                                                                                                                                                    disgorgement, civil penalties,
                                                                                                                                     Ky. Rev. Stat. § 367.190: (1) Whenever the Attorney General has reason to believe that any person is using, has used, or is about to use any method,
            48.005(4), and common law; and                                                                                                                                                                                                                                                        costs and attorney's fees.
                                                                                                                                     act or practice declared by KRS 367.170 to be unlawful, and that proceedings would be in the public interest, he may immediately move in the name
Kentucky    e)Other remedies as the court may deem appropriate under the facts and circumstances of the case.                                                                                                                                                                                                                      Sovereign
                                                                                                                                     of the Commonwealth in a Circuit Court for a restraining order or temporary or permanent injunction to prohibit the use of such method, act or
                                                                                                                                                                                                                                                                                                  DTPA: injunctive relief,
                                                                                                                                     practice. The action may be brought in the Circuit Court of the county in which such person resides or has his principal place of business or in the
                                                                                                                                                                                                                                                                                                  disgorgement, civil penalties,
                                                                                                                                     Circuit Court of the county in which the method, act or practice declared by KRS 367.170 to be unlawful has been committed or is about to be
            DTPA: The Commonwealth of Kentucky seeks the following remedies under Kentucky law for viola ons of Ky. Rev.                                                                                                                                                                          costs and attorney's fees
                                                                                                                                     committed; or with consent of the parties may be brought in the Franklin Circuit Court.
            Stat. § 367.170:
                                                                                                                                     (2) Upon application of the Attorney General, a restraining order shall be granted whenever it reasonably appears that any person will suffer
                                                                                                                                     immediate harm, loss or injury from a method, act or practice prohibited by KRS 367.170. If the defendant moves for the dissolution of a restraining
            a)Disgorgement pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110 through Ky. Rev. Stat. § 367.990, and
                                                                                                                                     order issued under this section, the court shall hold a hearing within five (5) business days of the date of service of the defendant's motion to
            common law;
                                                                                                                                     dissolve, unless a delay in hearing the cause is requested by, or otherwise caused by the defendant. If such a hearing is not held within five (5)
            b)Injunc ve and other equitable relief pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.190, and common law;
                                                                                                                                     business days, the restraining order will automatically be dissolved.
            c)Civil penal es pursuant to Ky. Rev. Stat. § 367.990(2);
                                                                                                                                     (3) In order to obtain a temporary or permanent injunction, it shall not be necessary to allege or prove that an adequate remedy at law does not
                                                                                                                                     exist. Further, it shall not be necessary to allege or prove that irreparable injury, loss or damage will result if the injunctive relief is denied.


            d)Costs and a orneys’ fees pursuant to Ky. Rev. Stat. § 367.110 through Ky. Rev. Stat. § 367.990, Ky. Rev. Stat. §
            48.005(4), and common law; and
            e)Other remedies as the court may deem appropriate under the facts and circumstances of the case.
                                                                                                                                     Ky. Rev. Stat. § 367.990: (1) Any person who violates the terms of a temporary or permanent injunction issued under KRS 367.190 shall forfeit and
                                                                                                                                     pay to the Commonwealth a civil penalty of not more than twenty‐five thousand dollars ($25,000) per violation. For the purposes of this section, the
                                                                                                                                     Circuit Court issuing an injunction shall retain jurisdiction, and the cause shall be continued, and in such cases the Attorney General acting in the
                                                                                                                                     name of the Commonwealth may petition for recovery of civil penalties.
                                                                                                                                     (2) In any action brought under KRS 367.190, if the court finds that a person is willfully using or has willfully used a method, act, or practice declared
                                                                                                                                     unlawful by KRS 367.170, the Attorney General, upon petition to the court, may recover, on behalf of the Commonwealth, a civil penalty of not more
                                                                                                                                     than two thousand dollars ($2,000) per violation, or where the defendant's conduct is directed at a person aged sixty (60) or older, a civil penalty of
                                                                                                                                     not more than ten thousand dollars ($10,000) per violation, if the trier of fact determines that the defendant knew or should have known that the
                                                                                                                                     person aged sixty (60) or older is substantially more vulnerable than other members of the public.

                                                                                                                                     (8) In addition to the penalties contained in this section, the Attorney General, upon petition to the court, may recover, on behalf of the
                                                                                                                                     Commonwealth a civil penalty of not more than the greater of five thousand dollars ($5,000) or two hundred dollars ($200) per day for each and
                                                                                                                                     every violation of KRS 367.175.
                                                                                                                                     Ky. Rev. Stat. § 15.020: (1) The Attorney General is the chief law officer of the Commonwealth of Kentucky and all of its departments, commissions,
                                                                                                                                     agencies, and political subdivisions, and the legal adviser of all state officers, departments, commissions, and agencies, and when requested in writing
                                                                                                                                     shall furnish to them his or her written opinion touching any of their official duties, and shall prepare proper drafts of all instruments of writing
                                                                                                                                     required for public use, and shall exercise all common law duties and authority pertaining to the office of the Attorney General under the common
                                                                                                                                     law, except when modified by statutory enactment.



                                                                                                                                      LA Rev. Stat. § 51:1407: A. Whenever the attorney general has reason to believe that any person is using, has used, or is about to use any method,
                                                                                                                                      act, or practice declared by R.S. 51:1405 to be unlawful, he may bring an action for injunctive relief in the name of the state against such person to
                                                                                                                                      restrain and enjoin the use of such method, act, or practice. The action may be brought in the district court having civil jurisdiction in any parish in
                                                                                                                                      which such person resides, or is domiciled or has his principal place of business, or in any parish in which such person did business, or, with consent
                                                                                                                                      of the parties, may be brought in the district court of the parish where the state capitol is located. In the event these district courts are not
                                                                                                                                      operational due to a declared state of emergency, the action shall be brought in an operating judicial court located closest in geographic distance to
            La. Rev. Stat. Ann.§ 51:121 et seq., the Plaintiff State of Louisiana seeks to recover civil penalties, the cost of suit,
                                                                                                                                      the Nineteenth Judicial District Court in the parish of East Baton Rouge. In the event that such person was located outside of the state, but was           Antitrust: damages, injunctive
            attorneys’ fees, and equitable and injunctive relief pursuant to La. Rev. Stat. Ann.§ 51:128
                                                                                                                                      soliciting in the state by mail, telephone, or any electronic communication, the action may be brought in the district court having civil jurisdiction in   relief, attorney's fees and
                                                                                                                                      the parish in which the contact was made. It being against the public policy of the state of Louisiana to allow a contractual selection of venue or         costs
            Pursuant to La. Rev. Stat. Ann. § 51:1409, the State of Louisiana seeks to recover damages in an amount to be
                                                                                                                                      jurisdiction contrary to the provisions of the Louisiana Code of Civil Procedure, no provision of any contract which purports to waive these provisions
Louisiana   determined at trial; treble damages for knowing violations of Louisiana Unfair Trade Practices and Consumer                                                                                                                                                                                                            Parens Patriae
                                                                                                                                      of venue, or to waive or select venue or jurisdiction in advance of the filing of any civil action, may be enforced against any plaintiff in an action      DTPA: damages, injunctive
            Protection Law, La. Rev. Stat. Ann. § 51:1401, et seq; an order enjoining Google’s unfair, unlawful, and/or deceptive
                                                                                                                                      brought in these courts. These courts are authorized to issue temporary restraining orders or preliminary and permanent injunctions to restrain and         relief, restitution, civil
            practices pursuant to La. Rev. Stat. Ann. § 51:1407(A); civil penalties pursuant to La. Rev. Stat. Ann. § 51:1407 and La.
                                                                                                                                      enjoin violations of this Chapter, and such restraining orders or injunctions shall be issued without bond.                                                 penalties, attorney's fees and
            Rev. Stat. Ann. § 51;1722; declaratory relief; attorney’s fees; and any other just and proper relief available under La.
                                                                                                                                      B. In addition to the remedies provided herein, the attorney general may request and the court may impose a civil penalty against any person found          costs
            Rev. Stat. Ann. § 51:1409.
                                                                                                                                      by the court to have engaged in any method, act, or practice in Louisiana declared to be unlawful under this Chapter. In the event the court finds the
                                                                                                                                      method, act, or practice to have been entered into with the intent to defraud, the court has the authority to impose a penalty not to exceed five
                                                                                                                                      thousand dollars for each violation.
                                                                                                                                      C. In addition to any other civil penalty provided for in this Section, if a person is found by the court to have engaged in any method, act, or practice
                                                                                                                                      in Louisiana declared to be unlawful under this Chapter, and the violation was committed against an elder person or a person with a disability, as
                                                                                                                                      defined in this Section, the court may impose an additional civil penalty not to exceed five thousand dollars for each violation.
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State         FAC Claims                                                                                                                    Statutory Language/Relief Available                                                                                                                         Relief Sought              Parens vs. Sovereign


                                                                                                                                            LA Rev. Stat. § 51:1408: A. The court may issue such additional orders or render judgments against any party, as may be necessary to compensate
                                                                                                                                            any aggrieved person for any property, movable or immovable, corporeal or incorporeal, which may have been acquired from such person by means
                                                                                                                                            of any method, act, or practice declared unlawful by R.S. 51:1405, whichever may be applicable to that party under R.S. 51:1418. Such orders shall
                                                                                                                                            include but not be limited to the following:
                                                                                                                                            (1) Revocation, forfeiture, or suspension of any license, charter, franchise, certificate, or other evidence of authority of any person to do business in
                                                                                                                                            the state.
                                                                                                                                            (2) Appointment of a receiver.
                                                                                                                                            (3) Dissolution of domestic corporations or associations.
                                                                                                                                            (4) Suspension or termination of the right of foreign corporations or associations to do business in this state.
                                                                                                                                            (5) Restitution.
                                                                                                                                            B. Unless otherwise expressly provided, the remedies or penalties provided by this Chapter are cumulative to each other and to the remedies or
                                                                                                                                            penalties available under all other laws of this state.




                                                                                                                                            Miss. Code Ann. § 11‐45‐11: The state shall be entitled to bring all actions and all remedies to which individuals are entitled in a given state of case.

                                                                                                                                            MS Code § 75‐21‐1: Any corporation, domestic or foreign, or any partnership, or individual, or other association, or person whatsoever, who are
                                                                                                                                            now, or shall hereafter create, enter into, become a member of, or a party to any trust or combine as hereinabove defined shall be deemed and
                                                                                                                                            adjudged guilty of a conspiracy to defraud and shall be subject to the penalties hereinafter provided. Any person, association of persons,
              1.         Pursuant to Miss. Code Ann. § 75‐21‐1 et seq. , Plaintiff State of Mississippi seeks and is entitled to relief,    corporation, or corporations, domestic or foreign, who shall be a party or belong to a trust and combine shall be guilty of crime and upon conviction
              including but not limited to injunctive relief, restitution, disgorgement, civil penalties, costs, attorney fees, and any     thereof shall, for a first offense be fined in any sum not less than one hundred dollars ($100.00) nor more than five thousand dollars ($5,000.00) and Antitrust: civil penalties,
              other just and equitable relief which this Court deems appropriate.                                                           for a second or subsequent offense not less than two hundred dollars ($200.00) nor more than ten thousand dollars ($10,000.00), and may be             injunctive relief, disgorgement.
Mississippi                                                                                                                                 enjoined by a final decree of the chancery court, in a suit by the state on the relation of the attorney general, from the further prosecution of or                                    Sovereign
              DTPA: Pursuant to the Mississippi Consumer Protec on Act, Miss. Code Ann. § 75‐24‐1, et seq., Plain ﬀ State of                doing of the acts constituting the trust and combine as defined in this chapter.                                                                       DTPA: civil penalties,
              Mississippi seeks and is entitled to relief, including but not limited to injunctive relief, disgorgement, civil penalties,                                                                                                                                                          disgorgement, injunctive relief
              costs, attorney fees, and any other just and equitable relief which this Court deems appropriate.                             Miss. Code Ann. § 75‐21‐7: Any person, corporation, partnership, firm or association of persons and the officers and representatives of the
                                                                                                                                            corporation or association violating any of the provisions of this chapter shall forfeit not less than one hundred dollars ($100.00) nor more than two
                                                                                                                                            thousand dollars ($2,000.00) for every such violation. Each month in which such person, corporation or association shall violate this chapter shall be
                                                                                                                                            a separate violation, the forfeiture and penalty in such case to be recovered alone by suit in the name of the state on the relation of the attorney
                                                                                                                                            general and by the consent of the attorney general suits may be brought by any district attorney, such suits to be brought in any court of competent
                                                                                                                                            jurisdiction.




                                                                                                                                            Miss Code Ann § 75‐21‐9: Any person, natural or artificial, injured or damaged by a trust and combine as herein defined, or by its effects direct or
                                                                                                                                            indirect, may recover all damages of every kind sustained by him or it and in addition a penalty of five hundred dollars ($500.00), by suit in any court
                                                                                                                                            of competent jurisdiction. Said suit may be brought against one or more of the parties to the trust or combine and one or more of the officers and
                                                                                                                                            representatives of any corporation a party to the same, or one or more of either. Such penalty may be recovered in each instance of injury. All
                                                                                                                                            recoveries herein provided for may be sued for in one suit.

                                                                                                                                            MS Code § 75‐24‐9: Whenever the Attorney General has reason to believe that any person is using, has used, or is about to use any method, act or
                                                                                                                                            practice prohibited by Section 75‐24‐5, and that proceedings would be in the public interest, he may bring an action in the name of the state against
                                                                                                                                            such person to restrain by temporary or permanent injunction the use of such method, act or practice. The action shall be brought in the chancery or
                                                                                                                                            county court of the county in which such person resides or has his principal place of business, or, with consent of the parties, may be brought in the
                                                                                                                                            chancery or county court of the county in which the State Capitol is located. The said courts are authorized to issue temporary or permanent
                                                                                                                                            injunctions to restrain and prevent violations of this chapter, and such injunctions shall be issued without bond.




                                                                                                                                            MS Code § 75‐24‐19: (1) Civil remedies.
                                                                                                                                            (a) Any person who violated the terms of an injunction issued under Section 75‐24‐9 shall forfeit and pay to the state a civil penalty in a sum not to
                                                                                                                                            exceed Ten Thousand Dollars ($10,000.00) per violation which shall be payable to the General Fund of the State of Mississippi. For the purposes of
                                                                                                                                            this section, the chancery or county court issuing an injunction shall retain jurisdiction, and the cause shall be continued, and in such cases the
                                                                                                                                            Attorney General acting in the name of the state may petition for recovery of civil penalties.
                                                                                                                                            (b) In any action brought under Section 75‐24‐9, if the court finds from clear and convincing evidence, that a person knowingly and willfully used any
                                                                                                                                            unfair or deceptive trade practice, method or act prohibited by Section 75‐24‐5, the Attorney General, upon petition to the court, may recover on
                                                                                                                                            behalf of the state a civil penalty in a sum not to exceed Ten Thousand Dollars ($10,000.00) per violation. One‐half ( ½ ) of said penalty shall be
                                                                                                                                            payable to the Office of Consumer Protection to be deposited into the Attorney General's special fund. All monies collected under this section shall
                                                                                                                                            be used by the Attorney General for consumer fraud education and investigative and enforcement operations of the Office of Consumer Protection.
                                                                                                                                            The other one‐half ( ½ ) shall be payable to the General Fund of the State of Mississippi. The Attorney General may also recover, in addition to any
                                                                                                                                            other relief that may be provided in this section, investigative costs and a reasonable attorney's fee.
                                                                                                                                            (2) No penalty authorized by this section shall be deemed to limit the court's powers to insure compliance with its orders, decrees and judgments, or
                                                                                                                                            punish for the violations thereof.
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State      FAC Claims                                                                                                               Statutory Language/Relief Available                                                                                                                         Relief Sought                         Parens vs. Sovereign


                                                                                                                                    MO Rev. Stat. § 416.071:
                                                                                                                                    1. In addition to all other remedies provided by sections 416.011 to 416.161, the circuit courts of this state are invested with jurisdiction to grant
                                                                                                                                    such preliminary or permanent injunctive relief and to issue such temporary restraining orders as necessary to prevent and restrain violations of
                                                                                                                                    section 416.031.
                                                                                                                                    2. In any civil action brought under sections 416.011 to 416.161, in addition to granting such prohibitory injunctions and other restraints as it deems
                                                                                                                                    expedient to deter the defendant from, and secure against, his committing a future violation of sections 416.011 to 416.161, the court may grant
                                                                                                                                                                                                                                                                                                Antitrust: injunctivce relief,
                                                                                                                                    such mandatory relief as is reasonably necessary to restore or preserve fair competition in the trade or commerce affected by the violation.
                                                                                                                                                                                                                                                                                                disgorgement
           Missouri Antitrust Law, Mo. Rev. Stat. §§ 416.011 et seq .
                                                                                                                                 MO Rev. Stat. § 416.121: Any person, including the state, who is injured in his business or property by reason of anything forbidden or declared
Missouri                                                                                                                                                                                                                                                                                        DTPA: injunctive relief,         Sovereign
           DTPA: Missouri’s Merchandising Practices Act, Mo. Rev. Stat. §§ 407.010 et seq., as further interpreted by 15 CSR 60‐ unlawful by sections 416.011 to 416.161 may sue therefor in any circuit court of this state in which the defendant or defendants, or any of them,
                                                                                                                                                                                                                                                                                                disgorgement, restitution, civil
           8.010 et seq. and 15 CSR 60‐9.01 et seq.                                                                              reside, or have any officer, agent or representative, or in which any such defendant, or any agent, officer or representative may be found. Such
                                                                                                                                                                                                                                                                                                penalties and other equitable
                                                                                                                                 person may:
                                                                                                                                                                                                                                                                                                remedies
                                                                                                                                 (1) Sue for damages sustained by him, and if the judgment is for the plaintiff he shall be awarded threefold damages by him sustained and
                                                                                                                                 reasonable attorneys' fees as determined by the court, together with the costs of suit; and
                                                                                                                                 (2) Bring proceedings to enjoin the unlawful practices, and if decree is for the plaintiff he shall be awarded reasonable attorneys' fees as determined
                                                                                                                                 by the court, together with the costs of the suit.

                                                                                                                                    MO Rev. Stat. § 416.151: The remedies afforded the state under sections 416.011 to 416.161 shall be cumulative but the state shall not be permitted
                                                                                                                                    more than one recovery of monetary damages arising out of the same act or injury.



                                                                                                                                    MT Code § 30‐14‐142: (1) violation of injunction or TRO issued civil fine not more than $10,000 for each violation; (2) willful method, act or practice
                                                                                                                                    declared unlawful acts under 30‐14‐103 and brought under 30‐14‐111 civil fine no more than $10,000 for each violation; (3) fraudulent course of
                                                                                                                                    conduct declared unlawful by 30‐14‐103 fined no more than $5,000, imprisoned for no more than 1 year, or both at discretion of court
                                                                                                                                                                                                                                                                                                Antitrust: injunctive relief,
                                                                                                                                 MT Code § 30‐14‐111: Department to Restrain Unlawful Acts: (4) district court authorized to issue temporary or permanent injunctions or TROs to
           Antitrust ‐ Mont. Code Ann. § 30‐14‐101 et seq., including § 30‐14‐103, §30‐14‐201 et seq, including §§ 30‐14‐205(1),                                                                                                                                                                structural relief, civil penalties,
                                                                                                                                 prevent violations of this part [30‐14‐103] and issued without bond
           30‐14‐205(2), and 30‐14‐222                                                                                                                                                                                                                                                          attorney's fees and costs
Montana                                                                                                                                                                                                                                                                                                                               Sovereign
                                                                                                                                    MT Code §30‐14‐131: Restoration‐‐Court Orders: (1) orders or judgement necessary restore any person [includes corporations, etc. or other legal
           DTPA ‐ Mont. Code Ann. § 30‐14‐101 et seq, including §30‐14‐103, 142(2); relief all legal and equitable under §§ 30‐                                                                                                                                                                 DTPA: Civil penalties,
                                                                                                                                    entity] of property may have been acquired by practice declared unlawful; (2) reasonable attorneys' fees to prevailing party if successful; (3) can
           14‐111(4), 30‐14‐131, and 30‐14‐142(2)                                                                                                                                                                                                                                               structural relief, attorney's
                                                                                                                                    enter any other order or judgment required by equity
                                                                                                                                                                                                                                                                                                fees and costs
                                                                                                                                    MT Code §§ 30‐14‐201 et seq ‐ Penalties: 30‐14‐224: purposefully or knowingly violates provisions of 30‐14‐207 through 30‐14‐214 or 30‐14‐216
                                                                                                                                    through 30‐14‐218 is guilty for each violation and may be fined not more than $10,000 or imprisoned for term not exceed 2 years, or both; violation
                                                                                                                                    of30‐14‐205 punishably by imprisonment no more than 5 years and fine in amount not exceeding $25,000;




                                                                                                                                    "NV Rev. Stat. § 598A.010 et seq ‐ 598A.200 (fees and costs; treble damages): State, any district, municipal corp., agency or other political
                                                                                                                                    subdivision of State injured in its business or property by reason of violation of provisions of chapter, shall recover treble damages, including
                                                                                                                                    reasonable attorney fees and costs.

                                                                                                                                    NV Rev. Stat. § 598A.070 (authority to sue and seek remedies): (1)(c) AG can institute proceedings on behalf of State, agencies, political subdivisions,
                                                                                                                                    districts or municipal corporations, or as parens patriae of persons residing in the State for (1)(c)(1) injunctive relief, including TRO, preliminary or
           Nev. Rev. Stat. § 598A.010 et seq, specifically §598A.060; relief under the Nevada Unfair Trade Practices Act and        permanent injunction, (1)(c)(2) civil penalties, (1)(c)(3) criminal penalties, (1)(c)(4) other equitable relief, including disgorgement or restitution.
           common law, including but not limited to: disgorgement, and specifically injunctions, civil penalties, and its costs and                                                                                                                                                             Antitrust: injunctive relief, civil
           attorney’s fees pursuant to Nev. Rev. Stat. §598A.070, Nev. Rev. Stat. §598A.170, and Nev. Rev. Stat. §598A.250.         NV Rev. Stat. § 598A.160 (authrity to sue and recover damages): (1) AG may bring civil action in name of State and entitled to recover damages and          penalties and attorney's fees.
Nevada                                                                                                                              other relief provided by chapter, (1)(a) as parens patriae of persons residing in State, for damages directly or indirectly incurred by such persons, or                                          Not limited to either
           DTPA Nev. Rev. Stat. §598.0903, et seq, specifically 598.0915(5), (7), (9), 598.092(8), 598.0923(2); willful §598.0999; alternatively, in court's discretion, as rep of class or classes of persons in State damaged directly or indirectly or, (1)(b) as parens patriae w/r/t to    DTPA: injunctive relief, civil
           relief injunctions, civil penalties, costs and attorneys fees pursuant to Nev. Rev. Stat. §§ 598.0963, 598.0973, and     direct or indirect damages to the general economy of the State, any agency or political subdivision thereof; (2) may recover aggregate damage               penalties and attorney's fees.
           598.0999(2)                                                                                                              sustained by persons on whose behalf this State sues, w/o separately providing the individual claims of each such person.

                                                                                                                                    NV Rev. Stat. § 598A.170 (liability for civil penalties): person engaged in activities prohibited by this chapter, at suit by AG, in amount not exceed 5%
                                                                                                                                    of gross income realized by the sale of commodities or services sold by such persons in State in each year in which the prohibited activities occurred.

                                                                                                                                    NV Rev. Stat. § 598A.250: remedies afforded by chapter are cumulative
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State          FAC Claims                                                                                                             Statutory Language/Relief Available                                                                                                                           Relief Sought                         Parens vs. Sovereign


                                                                                                                                      MT Code §30‐14‐222: Injunctions‐‐Damages‐‐Production of Evidence: (1) person [any legal entity] who is or will be injured or the department may
                                                                                                                                      bring action to enjoin act that is violation of 30‐14‐205 through 30‐14‐214 or 30‐14‐216 through 30‐14‐218 for recovery of damages, if found in
                                                                                                                                      violation of those acts, court shall enjoin, not necessary to allege or prove actual damages to the plaintiff; (2)(a) plaintiff can recover greater of 3x
                                                                                                                                      amount of actual damages sustained or $1,000, 2(b) in addition to (2)(a), plaintiff can prove violation of 30‐14‐2019 entitled to $500 day for each day
                                                                                                                                      violation of 30‐14‐209 occurred; (4) if action brought by party other than department, prevailing party entitled to attorneys' fees and costs

                                                                                                                                      NV Rev. Stat. § 598.0963 (authority to sue and seek remedies, including 2023 amendments): (3) if AG has reason to believe person engaged or
                                                                                                                                      engaging in deceptive trade practice, may bring action to obtain TRO, or preliminary or permanent injunction, or other appropriate relief; amended
                                                                                                                                      2023 to include (3) including, w/o limitation, recovery of civil penalty, disgorgement, restitution or recovery of damages (3)(a) as parens patriae of
                                                                                                                                      persons residing in State w/r/t damages sustained directly or indirectly by such persons, or alternatively, court's discretion as representative of class
                                                                                                                                      or classes of persons damaged directly or indirectly, (3)(b) as parens patriae w/r/t to direct or indirect damages to the general economy of the State,
                                                                                                                                      or any agency or political subdivision thereof

                                                                                                                                      NV Rev. Stat. § 598.0973 (civil penalties for acts against elderly or disabled persons, including 2023 amendments): (1) if brought action under
                                                                                                                                      598.0903 to 598.0999, if found engaged in deceptive trade practice toward elderly or person w/ disability, may impose civil penalty for not more
                                                                                                                                      than $12,500 for each violation, (2) factors to determine whether to impose civil fine; amended 2023 to include (1)(a) for deceptive trade practice
                                                                                                                                      toward person w/ disability, not more than $15,000 for each violation, (1)(b) for deceptive trade practice toward elderly, not more than $25,000 for
                                                                                                                                      each violation

                                                                                                                                      NV Rev. Stat.‐ 598.0993 (discretion for additional relief) ‐ for action brought under 598.0979 and 598.0985 to 598.099, court may make additional
                                                                                                                                      orders or judgments necessary restore any person in interest any money or property acquired by deceptive trade practice in violation of 598.0903 to
                                                                                                                                      598.0999 after final determination that deceptive trade practice has occurred




                                                                                                                                      N.D.C.C. § 51‐08.1‐01 et sec ‐ 51‐08.1‐07: AG may bring action for appropriate injunctive relief, equitable relief, including disgorgement, and civil
                                                                                                                                      penalties in name of state for violation of chapter. Trier of fact may assess civil penalty for benefit of State for not more than $100,000 for each
                                                                                                                                      violation of chapter.

                                                                                                                                      N.D.C.C. § 51‐08.1‐08: (1) state, political subdivision or any public agency threatened with injury or injured in its business or property by violation
                                                                                                                                      may bring action for injunctive or other equitable relief, damages sustained and, as determined by court, taxable costs and reasonable attorneys'
                                                                                                                                      fees; (2) AG may bring action as parens patriae on behalf of person residing in State to recover damages sustained by violation of chapter.                   Antitrust: injunctive relief, civil
               North Dakota Century Code (N.D.C.C.) § 51‐08.1‐01 et seq., including §§ 51‐08.1‐02 and 51‐08.1‐03; relief provided in                                                                                                                                                                penalties and attorney's fees.
               §§ 51‐08.1‐07 and 51‐08.1‐08.                                                                                         N.D.C.C. § 51‐08.1‐11: remedies in chapter cumulative.
North Dakota                                                                                                                                                                                                                                                                                                                              Parens Patriae
                                                                                                                                                                                                                                                                                           DTPA: Injunctive relief,
               DTPA: N.D.C.C. § 51‐15‐01, et seq., including § 51‐15‐02; relief provided in §§ 51‐15‐07, 51‐15‐10, and 51‐15‐11.      N.D.C.C. § 51‐15‐07: when appears to AG person engaged in or is engaging in unlawful practice in this chapter, or by other provisions of law, AG may disgorgement civil penalties
                                                                                                                                      seek and obtain injunction. Court may make order or judgment as may be necessary to prevent use or employment by person of any unlawful              and attorney's fees.
                                                                                                                                      practices, or which may be necessary to restore to any person in interest any money, or property that may have been acquired by means of any
                                                                                                                                      practice in this chapter or in other provisions of law declared to be unlawful.

                                                                                                                                      N.D.C.C. § 51‐15‐10: in action brought under this chapter or other provisions of law, court shall award the AG reasonable attorney's fees,
                                                                                                                                      investigation fees, costs, and expenses of any investigation and action brought under this chapter, or under other provisions of law.

                                                                                                                                      N.D.C.C. § 51‐15‐11: court may assess for benefit of State a civil penalty of not more than $5,000 for each violation of this chapter.




                                                                                                                                      10 L.P.R.A. 257 et seq ‐ 266: any person who violates 258, 260, 263(f) or 264 of this title shall be deemed guilty of misdemeanor and upon conviction
                                                                                                                                      punished by fine not less than $5,000 no more than $50,000 or by imprisonment not exceeding 1 year, or both by court's discretion.                           Antitrust: injunctive relief, civil
                                                                                                                                                                                                                                                                                                   penalties, damages
               10 P.R. Laws Ann. §§ 257 et seq; remedies available under law, including injunctive relief, civil penalties, and any
                                                                                                                                      10 L.P.R.A. 269: Court of First Instance has jurisdiction to prevent, prohibit, enjoin and punish violations of this chapter. Duty of Security of Justice to
               other appropriate relief
Puerto Rico                                                                                                                           institute proceedings for such and to obtain such other or further relief as appropriate. Pending proceedings and before final decree, court may issue DTPA: injunctive and other                Parens Patriae
                                                                                                                                      TRO or prohibition as shall be deemed just in the premises.                                                                                                  equitable relief,
               DTPA 10 L.P.R.A. § 259 et seq, Article 1802‐P.R. Laws Ann. Tit 31 §§ 5141 et seq
                                                                                                                                                                                                                                                                                                   civil penalties, damages
                                                                                                                                      1802 L.P.R.A. 31‐5141 et seq: any person who by act or omission causes damages to another through fault or negligence shall be obliged to repair
                                                                                                                                      the damages so done.
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State            FAC Claims                                                                                                                 Statutory Language/Relief Available                                                                                                                         Relief Sought                  Parens vs. Sovereign


                                                                                                                                            "SC Code § 39‐5‐50: (a) Whenever the Attorney General has reasonable cause to believe that any person is using, has used or is about to use any
                                                                                                                                            method, act or practice declared by Section 39‐5‐20 to be unlawful, and that proceedings would be in the public interest, he may bring an action in
                                                                                                                                            the name of the State against such person to restrain by temporary restraining order, temporary injunction or permanent injunction the use of such
                                                                                                                                            method, act or practice.... The courts are authorized to issue orders and injunctions to restrain and prevent violations of this article, and such orders
                                                                                                                                            and injunctions shall be issued without bond. Whenever any permanent injunction is issued by such court in connection with any action which has
                                                                                                                                            become final, reasonable costs shall be awarded to the State.

                                                                                                                                            SC Code §39‐5‐110: If a court finds that any person is willfully using or has willfully used a method, act or practice declared unlawful by Section 39‐5‐
                                                                                                                                            20, the Attorney General, upon petition to the court, may recover on behalf of the State a civil penalty of not exceeding five thousand dollars per
                 All remedies available under the South Carolina Unfair Trade Practices Act (SCUTPA), including: Injunctive relief                                                                                                                                                                    Antitrust and DTPA: Injunctive
                                                                                                                                            violation.
South Carolina   pursuant to S.C. Code § 39‐5‐50(a); civil penalties pursuant to S.C. Code § 39‐5‐110(a); costs and attorneys' fees                                                                                                                                                                   relief; civil penalties; costs and Sovereign
                 pursuant to S.C. Code §39‐5‐50(a) and 1‐7‐85; other remedies as the court may deem appropriate                                                                                                                                                                                       attorneys' fees
                                                                                                                                            SC Code § 1‐7‐85: Notwithstanding any other provision of law, the Office of the Attorney General may obtain reimbursement for its costs in
                                                                                                                                            representing the State in criminal proceedings and in representing the State and its officers and agencies in civil and administrative proceedings.
                                                                                                                                            These costs may include, but are not limited to, attorney fees or investigative costs or costs of litigation award"SC Code § 39‐5‐50: (a) Whenever the
                                                                                                                                            Attorney General has reasonable cause to believe that any person is using, has used or is about to use any method, act or practice declared by
                                                                                                                                            Section 39‐5‐20 to be unlawful, and that proceedings would be in the public interest, he may bring an action in the name of the State against such
                                                                                                                                            person to restrain by temporary restraining order, temporary injunction or permanent injunction the use of such method, act or practice.... The
                                                                                                                                            courts are authorized to issue orders and injunctions to restrain and prevent violations of this article, and such orders and injunctions shall be issued
                                                                                                                                            without bond. Whenever any permanent injunction is issued by such court in connection with any action which has become final, reasonable costs
                                                                                                                                            shall be awarded to the State.




                                                                                                                                            SD Codified L § 37‐1‐3.1 et seq ‐

                                                                                                                                            SD Codified L § 37‐1‐14.2: AG may bring action for appropriate injunctive or other equitable relief and civil penalties on behalf of the state for
                                                                                                                                            violation of chapter. Civil penalty no more than $50,000 for each violation of chapter.

                                                                                                                                            SD Codified L § 37‐1‐23: AG may bring civil action as parens patriae on behalf of natural persons residing in state to secure monetary relief as
                                                                                                                                            provided in this section for injury sustained by natural person to their property by reason of any violation of this chapter.
                                                                                                                                                                                                                                                                                                 Antitrust: Treble damages,
                                                                                                                                            SD Codified L §37‐1‐32: powers granted in 37‐1‐23 to 37‐1‐32 are in addition to and not in derogation of the common law powers of the AG to act in
                                                                                                                                                                                                                                                                                                 injunctive relief, civil penalties
                 SDCL §§ 37‐1‐3.1, 37‐1‐3.2; relief all legal and equitable, all costs and fees, available under SDCL §§ 37‐1‐3.1 et seq,   parens patriae.
                                                                                                                                                                                                                                                                                                 and fines, disgorgement and
                 37‐1‐14.2
South Dakota                                                                                                                                                                                                                                                                                     restitution.                       Parens Patriae
                                                                                                                                            SD Codified L § 37‐1‐24: court shall award the state as monetary relief 3x the total damage sustained as described in 37‐1‐23 and 37‐1‐25 and the
                 DTPA SDCL § 37‐24‐6(1), 37‐24‐6                                                                                            cost of the suit, including reasonable attorney's fees.
                                                                                                                                                                                                                                                                                                 DTPA: damages, civil penalties,
                                                                                                                                                                                                                                                                                                 attorney's fees
                                                                                                                                            SD Codified L § 37‐24‐23: if AG has reason believe any person is using, has used, or about to use a practice declared unlawful by 37‐24‐6, may bring
                                                                                                                                            action for temporary or permanent injunction for the use of the act or practice, upon notice. AG, if prevailing, may also recover reasonable
                                                                                                                                            attorney's fees and costs.

                                                                                                                                            SD Codified L § 37‐1‐26: In an action pursuant to §§ 37‐1‐23 to 37‐1‐32, inclusive, where there has been a determination that a defendant agreed to
                                                                                                                                            fix prices, damages may be proved and assessed in the aggregate by statistical or sample in methods, by the pro rata allocation of illegal overcharges
                                                                                                                                            or of excess profits or by such other reasonable system of estimating aggregate damages as the court in its discretion may permit without the
                                                                                                                                            necessity of separately proving the individual claim of, or amount of damage to, persons on whose behalf the suit was brought.




                                                                                                                                            SD Codified L § 37‐24‐27: for actions brought under 37‐24‐23, if court finds person is intentionally using or has used an act or practice declared
                                                                                                                                            unlawful by 37‐24‐6, the AG upon petition to court may recover a civil penalty of not more than $2,000 per violation.

                                                                                                                                            SD Codified L § 37‐24‐29: court shall make such additional orders or judgments as may be necessary to restore to any person in interest any moneys
                                                                                                                                            or property which the court finds to have been acquired by means of any act or practiced declared to be unlawful by 37‐24‐6.
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State   FAC Claims                                                                                                            Statutory Language/Relief Available                                                                                                                          Relief Sought                    Parens vs. Sovereign


                                                                                                                              TX Bus. & Comm. Code § 15.01 et seq ‐ 15.40: AG may bring action on behalf of State or any of its political subdivisions or tax supported institutions
                                                                                                                              to recover the damages provided for by the federal antitrust laws.

                                                                                                                              TX Bus. & Comm. Code § 15.20: (a) AG may file suit … to collect civil fine whom AG believes has violated any of the prohibitions in subsection (a), (b),
                                                                                                                              or (c) of 15.05. Every person adjusted to have violated any of these provisions shall pay a fine to the state not to exceed $1,000,000 if a corporation;
                                                                                                                              (b) AG may file suit ... to enjoin temporarily or permanently any activity or contemplated activity that threatens to violate any prohibitions in Section
                                                                                                                              15.05. If state substantially prevails on merits, entitled to recover the cost of suit.                                                                    Antitrust: injunctive relief,
                                                                                                                                                                                                                                                                                         structural relief, civil penalties,
        Bus. & Comm. Code § 15.01 et seq., including § 15.05(b);
                                                                                                                              TX Bus. & Comm. Code § 17.43: remedies are not exclusive and in addition to any other procedures or remedies provided for in any other law, but no Attorney's fees and costs
Texas                                                                                                                                                                                                                                                                                                                        Sovereign
                                                                                                                              double recovery for same act or practice.
        DTPA § 17.46(a), including § 17.46(b) including (5), (7), (9), (12), and (24)
                                                                                                                                                                                                                                                                                         DTPA: Civil penalties,
                                                                                                                              TX Bus. & Comm. Code § 17.47: (a) CP division has reason to believe that any person is engaging in, has engaged in, or about to engage in any act or attorney's fees and costs
                                                                                                                              practice declared unlawful by this subchapter, division may bring action in name of State to restrain by TRO, temporary injunction, or permanent
                                                                                                                              injunction the use of such method, act, or practice; (c) in addition to (a), CP division may request and trier of fact may award, civil penalty to be paid
                                                                                                                              to State, a civil penalty in amount of (1) not more than $10,000 per violation, and (2)if act was calculated to acquire or deprive money or property
                                                                                                                              from consumer 65_ when act or practice occurred, an additional amount of not more than $250,000; (d) court may make such additional orders or
                                                                                                                              judgment as necessary to compensate identifiable persons actual damages or restore money or property which may have been acquired by means of
                                                                                                                              any unlawful act or practice.




                                                                                                                              "UT Code § 76‐10‐3101 et seq ‐ 76‐10‐3108: (1) AG may bring action for appropriate injunctive relief, a civil penalty, and damages in name of state,
                                                                                                                              any of its political subdivisions or agencies ... for violation of act. Remedy is additional to others provided by law. may not diminish or offset any
                                                                                                                              other remedy; (2) any individual who violates act is subject to civil penalty of no more than $100,000 for each violation. any person, other than
                                                                                                                              individual, who violates act subject to civil penalty of not more than $500,000 for each violation.
        Utah Code § 76‐10‐3101, et seq; all relief available under the act including injunctive relief, civil penalties,                                                                                                                                                                   Antitrust: civil penalties,
        disgorgement, attorneys' fees, and costs                                                                              UT Code § 76‐10‐3109: (3) state or any political subdivisions may recover a civil penalty, in addition to injunctive relief, costs of suit, and reasonable   injunctive relief, attorney's
                                                                                                                              attorney fees.                                                                                                                                               fees and costs
Utah                                                                                                                                                                                                                                                                                                                        Sovereign
        DTPA Utah Code §§ 13‐11‐1 et seq, 13‐11‐4; relief §§13‐11‐1 et seq; injunctive relief, damages, fines under Utah
        Code § 13‐11‐17(6), costs, attorneys fees, and any other just and equitable relief court deems appropriate Utah Code UT Code § 13‐11‐17: (1) enforcing authority may bring an action in court of competent jurisdiction to (b) enjoin, in accordance with principles of            DTPA: injunctive relief, civil
        §§ 13‐11‐17, 17.2                                                                                                    equity, a supplier who has violated or is otherwise likely to violate this chapter ... (d) obtain fines as determined after considering factors in            penalties, attorney's fees
                                                                                                                             subsection (6);

                                                                                                                              UT Code § 13‐11‐17.5: any judgment in favor of enforcing authority in connection with enforcement of this chapter shall include, in addition to any
                                                                                                                              other monetary award or injunctive relief an award for reasonable attorney's fees, court costs, and costs of investigation."
